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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 KAITLYN TRIMBLE, individually and on behalf )
 of all others similarly situated,           )
                                             ) Civil Action No. 1:24-cv-00969-RDB
 Plaintiff,                                  )
                                             )
 v.                                          )
                                             )
 AMERICAN FIRST FINANCE, LLC,                )
                                             )
 Defendant.                                  )

      DEFENDANT AMERICAN FIRST FINANCE, LLC’S MOTION TO COMPEL
                    ARBITRATION AND TO DISMISS

       Defendant American First Finance, LLC (“AFF”), by and through its undersigned counsel,

moves to compel arbitration of Plaintiff Kaitlyn Trimble’s (“Plaintiff”) claims pursuant to the

Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”).

       As set forth more fully in the accompanying Memorandum of Law in Support, the Court

should dismiss the Complaint because Plaintiff is subject to a valid and enforceable arbitration

provision and the purported dispute falls within the scope of the arbitration provision.

       Plaintiff seeks damages arising from the Consumer Rental-Purchase Agreement (the

“Contract”) she entered with AFF. The Contract includes a bilateral arbitration provision (the

“Arbitration Provision”), in which the parties agreed that either party can elect to have any dispute

regarding the Contract, or the services provided under the Contract, resolved by a neutral, binding

arbitration on an individual, non-class basis. AFF has elected to resolve Plaintiff’s individual

dispute through arbitration. Because the FAA mandates enforcement of such agreements, Plaintiff

cannot proceed in this forum, and this Court should compel arbitration of the dispute and dismiss

the case.

       WHEREFORE, for the foregoing reasons and for reasons more fully set forth in the
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accompanying Memorandum of Law in Support, AFF respectfully requests that the Court dismiss

Plaintiff’s Complaint and order the parties to arbitrate the dispute.

Dated: May 3, 2024

                                                      Respectfully submitted,

                                                      /s____________________________
                                                      Jessica L. Farmer (Bar # 18978)
                                                      Richard A. Ochran, Jr. (Bar #21247)
                                                      HOLLAND & KNIGHT LLP
                                                      800 17th Street N.W.
                                                      Suite 1100
                                                      Washington, D.C. 20006
                                                      Telephone: (202) 955-3000
                                                      Jessica.Farmer@hklaw.com
                                                      Richard.OchranJr@hklaw.com

                                                      Bryan O. Balogh (pro hac vice)
                                                      Allyson R. Mancuso (pro hac vice)
                                                      HOLLAND & KNIGHT LLP
                                                      1901 6th Avenue N.
                                                      Suite 1400
                                                      Birmingham, AL 35203
                                                      Telephone: (205) 226-5700
                                                      Bryan.Balogh@hklaw.com
                                                      Allyson.Mancuso@hklaw.com

                                                      Attorneys for Defendant
                                                      American First Finance, LLC




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of May, 2024, I caused the foregoing MOTION TO
COMPEL ARBITRATION AND TO DISMISS to be served on the following person[s] by the
Court’s CM/ECF system:

Benjamin H. Carney
Richard S. Gordon
GORDON, WOLF & CARNEY, CHTD.
11350 McCormick Road, Executive Plaza 1
Suite 1000
Hunt Valley, Maryland 21031
Telephone: (410) 825-2300
Facsimile (410) 825-0066
Email: bcarney@GWCfirm.com
rgordon@GWCfirm.com

Attorneys for Plaintiff


                                              /s/
                                              Jessica L. Farmer




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